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                                 U NITED STATES D ISTRICT COU RT
                                 SOU THERN DISTRICT O F FLORIDA

                                     CA SE NO .1:16-CV-23998-UU
   CH RISTIHOU SE,

                    Plaintiff,
   VS.

   RELIAN CE STAND ARD LIFE IN SURAN CE
   COM PAN Y ,

                    Defendant.                       /



                             OADER OF DISM ISSAL W ITH PREJUDICE

                 In consideration ofthe foregoing Stipulation itis:

                 ORDERED AND ADJUDGED thatthiscause isherebydismissedwithprejudice,each
         party to bear itsOwn attorney feesand costs.


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                                                                   #
         2017.




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         cc:A llCounselofRecord
